Case: 1:24-cv-01762 Document #: 1-1 Filed: 03/01/24 Page 1 of 5 PageID #:10

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Case: 1:24-cv-01762 Document #: 1-1 Filed: 03/01/24 Page 2 of 5 PageID #:11
Case: 1:24-cv-01762 Document #: 1-1 Filed: 03/01/24 Page 3 of 5 PageID #:12
Case: 1:24-cv-01762 Document #: 1-1 Filed: 03/01/24 Page 4 of 5 PageID #:13
Case: 1:24-cv-01762 Document #: 1-1 Filed: 03/01/24 Page 5 of 5 PageID #:14
